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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-cr-003 (RCL)
               v.                             :
                                              :
JACOB CHANSLEY,                               :
                                              :
                       Defendant.             :

                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                        MOTION FOR BILL OF PARTICULARS

       Defendant Jacob Chansley moves under Federal Rule of Criminal Procedure 7(f) for a bill

of particulars. See Defendant’s Motion For Bill of Particulars ECF No. 55 (hereinafter “Def.

Mot.”). The defendant now claims that this Court should grant his motion for bill of particulars,

inter alia, because of the defense has not received the entirety of the “discovery possessed by the

Government which arguably is germane and material to the present case,” which is “otherworldly

ins cope, size, and nature.” Def. Mot., at 2. The defendant’s arguments lack merit and are not

supported by the facts of this case. Whether a bill of particulars is appropriate lies within this

Court’s “sound discretion.” United States v. Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006) (quotation

omitted). Exercising that discretion, the Court should deny the motion.

                                  FACTUAL BACKGROUND

       For his conduct on January 6, 2021, defendant Foy is now charged by Indictment with: (1)

Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); (2) Obstruction of an Official Proceeding, in

violation of 18 U.S.C. §§ 1512(c)(2) and 2; (3) Knowingly Entering or Remaining in any Restricted

Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1); (4) Disorderly and Disruptive

Conduct in a Restricted Building, in violation of 18 U.S.C. § 1752(a)(2); (5) Violent Entry and

Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(A), and; (6)
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Parading, Demonstrating or Picketing in a Capitol Building, in violation of 40 U.S.C. §

5104(e)(2)(G).

       For the sake of brevity, the United States will not fully restate the evidence outlined in its

prior pleadings and two detention hearings before this Court. A few points herein bear emphasis,

however. In numerous prior filings and hearings, the government outlined in particular details the

defendant’s actions taken in contravention of law enforcement officers who were protecting the

U.S. Capitol, elected representatives, their staffs, the Vice-President of the United States, their

families, and our Democracy on January 6, 2021. The defendant unlawfully entered the U.S.

Capitol building with a dangerous weapon, paraded that weapon on to the Senate floor, where he

left a threatening note for the Vice President of the United States, and defied repeated attempts of

law enforcement to restore order to the seat of our Democracy.

                                           LEGAL ANALYSIS

        The indictment and discovery for this case provide adequate notice to the defendant

concerning the alleged crimes in the indictment. Of note, the government has provided and the

defense has reviewed substantial discovery to date. See ECF No. 38-1. As the Court is now aware

from recent notices of filing by the government and two detention hearings before the Court, the

defendant now has received a substantial amount of Capitol CCTV videos, Senate floor videos,

police body worn camera videos, social media returns, downloaded copies of all items from his

cellphone, and many other items to prepare for trial in this matter. Notably, the government even

sought early permission of this Court to disclose 6(e) materials, to include the grand jury transcripts

and exhibits used in the indictment of this defendant. Accordingly, a bill of particulars is

unwarranted in this matter.




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       A bill of particulars “ensure[s] that the charges brought against a defendant are stated with

enough precision to allow the defendant to understand the charges, to prepare a defense, and

perhaps also to be protected against retrial on the same charges.” United States v. Butler, 822 F.2d

1191, 1193 (D.C. Cir. 1987). Importantly, a bill of particulars is not required, however, if the

indictment “is sufficiently specific, or if the requested information is available in some other

form.” Id.; see United States v. Lorenzana-Cordon, 130 F. Supp. 3d 172, 179 (D.D.C. 2015)

(denying motion for bill of particulars and noting that the government had provided extensive

discovery that “allows Defendants to adequately prepare for trial”). A bill of particulars “is not a

discovery tool or a devise for allowing the defense to preview the government’s theories or

evidence.” United States v. Ramirez, 54 F. Supp. 2d 25, 29 (D.D.C. 1999); see also United States

v. Brodie, 326 F. Supp. 2d 83, 91 (D.D.C. 2004) (same). Rather, a bill of particulars “is intended

to give the defendant only that minimum amount of information necessary to permit the defendant

to conduct his own investigation and not to provide the defendant with the fruit of the government’s

investigation.” United States v. Sanford Ltd., 841 F. Supp. 2d 309, 316 (D.D.C. 2012) (internal

quotation marks and citation omitted, emphasis in original). Therefore, a bill of particulars

“properly includes clarification of the indictment, not the government’s proof of its case.” United

States v. Martinez, 764 F. Supp. 2d 166, 173 (D.D.C. 2011) (internal quotation marks and citation

omitted); United States v. Savoy, 889 F. Supp. 2d 78, 115 (D.D.C. 2012) (same).

       More broadly, the purpose of a bill of particulars is to outline the charges brought against

a defendant are stated with enough precision to allow the defendant to understand the charges, to

prepare a defense. See United States v. Esquivel, 755 F. Supp. 434, 436 (D.D.C. 1990). “It is not

the function of a bill of particulars to provide a detailed disclosure of the government's evidence

in advance of trial.” Overton v. United States, 403 F.2d 444, 446 (5th Cir. 1968); see also United



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States v. Torres, 901 F.2d 205, 234 (2nd Cir.) ("[a]cquisition of evidentiary detail is not a function

of a bill of particulars"), cert. denied, 498 U.S. 906 (1990); United States v. Armocida, 515 F.2d

49, 54 (3rd Cir.) (bill of particulars is not intended as a vehicle for “wholesale discovery of the

Government's evidence”), cert. denied, 423 U.S. 858 (1975). A bill of particulars is also not

designed to force the government to reveal a theory of its case that the defendant could then use to

limit the government's presentation of its case at trial. United States v. Torres, supra, 901 F.2d at

234; United States v. Burgin, 621 F.2d 1352, 1359 (5th Cir.), cert. denied, 449 U.S. 1015 (1980).

The defendant’s constitutional right underlying a bill of particulars is to know the offense with

which he or she is charged, not to know the details of how it will be proved. United States v.

Kendall, 665 F.2d 126, 135 (7th Cir. 1981), cert. denied, 455 U.S. 1021 (1982). Simply put, at this

time the defendant request for bill of particulars has been fully met by the government. Therefore,

the defendant’s motion lacks any new facts nor cites any legal principles to support his arguments.

As such, the defendant’s motion is misplaced and should be denied.

       Applying the above-mentioned principles outlined supra, judges of this Court have

consistently denied motions for a bill of particulars where, as here, the motion seeks details about

the nature of the government’s evidence. Thus, for example, in United States v. Han, 280 F. Supp.

3d 144, 149 (D.D.C. 2017), the Court denied a motion for a bill of particulars requesting

information about the basis for fraud and tax charges against the defendant, including the precise

representations allegedly made by the defendant and the amount of taxes allegedly owed. The

Court explained that the requested information had already been provided to the defendant in

discovery and elsewhere, and a “bill of particulars is meant to allow a defendant to properly prepare

for trial, not provide a method to force the prosecution to connect every dot in its case.” Id.




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         Similarly, in Brodie, the court denied a motion for a bill of particulars requesting “the

circumstances surrounding the alleged acts” of fraud committed by the defendants as well as “other

evidentiary details.” 326 F. Supp. 2d at 92. The court reasoned that the charges set forth in the

indictment were “detailed and alleged with particularity” and “the discovery provided by the

government has been voluminous,” and therefore there was “no reason for any further

particularization of the overt acts.” Id.

         Finally, in Sanford Ltd., the court denied a motion for a bill of particulars regarding the

“substance, time, place and date” of allegations regarding falsification of records and other charges

against a corporate defendant. 841 F. Supp. 2d at 315. The court explained that “the general rule

in conspiracy cases is that the defendant is not entitled to obtain detailed information about the

conspiracy in a bill of particulars.” Id. at 317 (internal quotation marks and citation omitted).

Accordingly, the court denied the defendant’s request for information about the identities of its

employees alleged to have participated in the conspiracy and other details about the overt acts

charged in the indictment. Id. at 317-18.1

         The same result is appropriate here for three reasons. First, the indictment provides

sufficient details outlining the allegations against the defendant. Those detailed charges amply

“define[] each defendant’s role . . . in a manner sufficient to avoid surprise and permit defendants

to permit defendants to prepare a defense.” United States v. Pollack, 534 F.2d 964, 970 (D.C. Cir.

1976). Further, if “the indictment is sufficiently specific, or if the requested information is

available in some other form, then a bill of particulars is not required.” See Butler, 822 F.2d at



1 For additional authority in this Court, see, e.g., United States v. Saffarinia, 422 F. Supp. 3d 269, 277 (D.D.C.
2019) (“Given the substantial discovery here, the Court therefore finds that Mr. Saffarinia is not entitled to a bill of
particulars to prepare his defense and to avoid any surprises at trial.”); United States, v. Lorenzana-Cordon, 130 F.
Supp. 3d 172, 179 (D.D.C. 2015) (bill of particulars not required in narcotics trafficking conspiracy where
indictment is sufficient and discovery is voluminous).


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1193. In particular, the government has provided abundant information through its discovery, and

various filings and in two detention hearings before the Court. See ECF No. 38-1. In that regard,

the defendant has received a substantial amount of body-worn camera videos, other videos,

surveillance video, download copies of all items from his cellphone, and many other items to

prepare for trial in this matter.

        Finally, Rule 7(f) does not entitle the defendant to the granular information he seeks. For

example, the defendant requests that the government identify “with specificity each and every act

of Chansley (sic) which comprises the ‘parading’ and ‘demonstrating’ and ‘picketing’.” Def. Mot.,

at 6. Significantly, not only can the defendant, through his own investigation and review of the

government’s discovery materials and numerous videos showing the defendant’s unlawful actions

inside the Capitol, he is not entitled to detailed information as to how the government intends to

prove its case. See Sanford Ltd., 841 F. Supp. 2d 309 at 315-16. A bill of particulars, in short, is

not a weapon that enables the defendant to “force the government to reveal all its evidence before

trial.” United States v. Taylor, 17 F. Supp. 3d 162, 178 (E.D.N.Y. 2014). Simply put, the defendant

can view the numerous videos of the defendant and his actions at the time of his unlawful actions

at the Capitol.

                                             CONCLUSION

        For all these reasons, the defendant’s motion for a bill of particulars should be denied.




                                       Respectfully submitted,

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                                       Acting United States Attorney
                                       D.C. Bar No. 415793



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